Case 7:17-cV-OOi4B-O` Document 1-2 Filed 10/04/17 Page`l`of 18 Page||a.e];émmmytoapm

Paltl Flores
Dislrict C|erk
chhita County. Texas
186‘968_B F\'a!\ Fl|'ld[ay
CAUSE NO.
RICHARD LIGHTNER § IN THE. DISTRICT COURT
§
v. § 73TH ]UDICLAL DISTRICT
§
LEXINGTON INSURANCE COMPANY §
AND MATTHEW C. SNOW § WICHI'I`A COUNTY, TEXAS

PLA.I.NLIE'§ CBI_G_INAL_P_EILT_I_QN
'I`O TI-IE I-IONORABLE ]UDGE OF SAID COURT:

Plaintiff, Richard Lightner (herein after referred to as ”Plaintiff”), files this
Original Petition against Defendants, lexington Insurance Company (hereinafter
referred to as ”LEXINGTON”) and Matthew C. Snow (hereinafter referred to as
“SNOW”) and hereby respectfully shows unto the Court and jury as follows:

DLSS§Q!§RY_Q)HL{O_L PI:&DI
1. Plaintiff intends for discovery to be conducted under Level 3 of Rule 190.4
of the Texas Rules of Civil Procedure and affirmatively plead that this suit is not
governed by the expedited-actions process in Texas Rule of Civil Procedure 169 because
Plaintiff seeks monetary relief over $1(]0,000.00.
RE_I-lE-_F
2. Plaintiff seeks monetary relief over $200,0[]0 but not more than $1,000,000.

TEx. R. CW. P. 47(c)(4).

Pagc l of 16

 

Case 7:17-cv-OOi45-O` Document 1-2 Filed 10/04/17 Page`Z of 18 Page|D 15

IM

3. Plaintiff is a citizen of the State of Texas and resides in Wichita County,
Texas.

4. Defendant, Lexington Insurance Company, is a foreign insurance carrier
engaging in the business of insurance in the State of Texas, and may be served with
process by serving its President or any Officer, located at 99 High Street, Floor 23,
Boston, Massachusetts 02110-2378. Service is requested at this time by certified mail
return receipt requested.

5. Defendant, Matthew C. Snow, is an individual and citizen of the State of
Texas and may be served with process at his place of business located at CIS Group, 950
E. State I-Iighway 114, Suite 150, Southlake, Texas 76092. Service is requested at this
time by certified mail return receipt requested

Iulusolc.'rloN AND VENUE

6. This Court has ]urisdiction over this case in that the amount in
controversy exceeds the minimum jurisdictional limits of this Court.

7. Venue is mandatory and proper in Wichita County, Texas, because all or a
substantial part of the events giving rise to the lawsuit occurred in this county. See TEx.

Clv. PRAC. & REM. CooE § 15.002.

Pagc 2 oi` 16

Case 7:17-cV-00145-O` Document1-2 Filed 10/04/17 Page`S of 18 Page|D 16

CoNDITIoNs PRECEDENT
8. Ail conditions precedent to recovery have been performed, waived, or
have occurred.
REsPoNDEAT SuPEruon
9. At all times relevant hereto, Defendant, LEXINCTON'S employees and
adjusters Were acting in the course and scope of his employment with LEXINGTON for
which LEXINGTON is liable for their acts and/or omissions
A§B.ISQY
10. At all times relevant hereto, Defendant, SNOW was acting as an agent of
LEXINGTON with actual or apparent authority and within the course and scope of
their agency relationship.
§_l_\g§
11. Plaintiff is the owner of an insurance policy bearing Policy No. 95491515
issued by the Defendant LEXINGTON (hereinafter referred to as the "‘Policy").
12. Plaintiff owns the property located at 1116 Sycamore Drive, Burl<burnett,
Texas 76354 (hereinafter referred to as the “Property").
13. Defendant or its agent sold the Policy, insuring the Property, to Plaintiff.
14. On or about May 19, 2017, Plaintiff's Property sustained windstorm and
hail damage. 'I`he roof of the Property sustained extensive damage during the storm

including damage to the roof coverings and other structural parts of the roofs. After the

Pagc 3 of 16

Case 7:17-cV-00145-O` Document 1-2 Filed 10/04/17 Page 4 of 18 Page|D 17

storm, Plaintiff filed a claim with its insurance company, I.EXINGTON, for the damages
to the Property caused by the storm.

15. Plaintiff submitted a claim to LEXINGTON against the Policy for damage
caused to the Property as a result of the wind and hail. Plaintiff asked LEXINGTON to
cover the cost of repairs to the Property pursuant to the Policy and any other available
coverages under the policy. LEXINGTON assigned Claim No. 0394083828 to Plaintiff's
claim. LEXINGTON assigned SNOW to investigate estimate, and adjust the Plaintiff‘s
claim.

16. Plaintiff submitted an estimate to SNOW, which outlined all of the
damage suffered by the Property from the storm in question. SNOW's unreasonable
investigation of the claim included a failure to comply with LEXINGTON'$ policies and
procedures concerning roof inspections and When to replace or repair a roof. 'I`he roof
required full replacement under LEXINGTON's policies and procedures 'l`he roofs of
the Property suffered significant damage including damage to the roof coverings, hand
splits to the wood shakes, and other structural parts of the roof.

17. SNOW performed an unreasonable investigation by failing to document
any and all of the damage to the Property. SNOW did not properly inspect the
Property and failed to adequately investigate Plaintiff’s claim. Plaintiff submitted an

estimate outlining the damage to the Property. Although SNOW received the estimate

Page 4 of 16

 

Case 7:17-Cv-00145-O Document 1-2 Filed 10/04/17 Page 5 of 18 Page|D 18

which outlined the damage to the Property, SNOW did not adequately inspect the
damage.

18. SNOW's unreasonable investigation of the claim included a failure to
comply with Lexington Insurance Company's policies and procedures concerning roof
inspections and when to replace or repair a roof. 'I'he roof required full replacement
under LEXINGTON's policies and procedures SNOW performed an unreasonable
investigation by failing to document all of the damage to the roof. Snow did not
conduct a thorough roof inspection and only allowed for the minimum cost to repair
the roof. As a result of SNOW's unreasonable and brief investigation, Plaintiff was
wrongly denied the full cost to replace the roof.

19. SNOW misrepresented to Plaintiff in his report that the damage to the
Property did not warrant coverage. SNOW performed an outcome-oriented
investigation by failing to look for evidence that supported coverage for Plaintiff's
claim. From the outset of the claim, SNOW's goal was to exclude coverage instead of
reasonably investigating Plaintiff's claim and provide coverage for the damage suffered
to the Property.

20. SNOW did not conduct a reasonable investigation of Plaintiff’s claim. As
a result, Plaintiff's claim was denied although the policy provided coverage for the
damage suffered to the Property. SNOW conducted an insufficient investigation and

assisted in the premature closure of Plaintiff’s claim. SNOW failed to properly adjust

Page 5 of 16

Case 7:17-CV-00145-Ol Document 1-2 Filed 10/04/17 Page 6 of 18 Page|D 19

the claim and has denied at least a portion of the claim without an adequate
investigation, even though the Policy provided coverage for losses such as those
suffered by Plaintiff. Furthermore, LEXINGTON underpaid some of Plaintiff's claims
by not providing coverage for the damages sustained by Plaintiff. To date,
LEXINGTON continues to delay in the payment for the damages to the Property. As
suchr Plaintist claim(s) still remain unpaid and the Plaintiff still has not been able to
properly repair the Property.

21. LEXINGTON failed to perform its contractual duty to adequately
compensate Plaintiff under terms of the policy. Specifically, Defendant failed and
refused to pay any of the proceeds of the Policy, although due demand was made for
proceeds to be paid in an amount sufficient to cover the damaged Property and all
conditions precedent to recovery upon the Policy had been carried out and
accomplished by Plaintiff. Defendant's conduct constitutes a breach of the insurance
contract between Defendant and Plaintiff.

22. LEXINGTON and SNOW misrepresented to Plaintiff that the damage to
the Property was not covered under the Policy, even though the damage was caused by
a covered occurrence Defendants' conduct constitutes a violation of the 'l`exas
Insurance Code, Unfair Settlement Practices. TEX.INS. CODE §541.060 (a)(1).

23. Defendants LEXINGTON and SNOW failed to make an attempt to settle

Plaintiff's claim in a fair manner, although it was aware of its liability to Plaintiff under

Pagc 6 of 16

 

Case 7:17-Cv-00145-O ' Document 1-2 Filed 10/04/17 Page 7 of 18 Page|D 20

the Policy. LEXINGTON and SNOW’s conduct constitutes a violation of the Texas
Insurance Code, Unfair Settlement Practices. TE.X. lNS. CODE §541.060 (a)(Z)(A).

24. LEXINGTON and SNOW failed to explain to Plaintiff the reason for its
offer of an inadequate settlement Specifically, Defendants failed to offer Plaintiff
adequate compensation, without adequate explanation of the basis in the policy why
full payment was not being made. Further, Defendants did not communicate that any
future settlements or payments would be forthcoming to pay for the entire losses
covered under the Policy, nor did it provide any explanation for the failure to
adequately settle Plaintiff's claim. Defendants' conduct is a violation of the Texas
Insurance Code, Unfair Settlement Practices. 'I`EX. lNS. CODE. §541.060 (a)(3).

25. Defendant LEXINGTON failed to affirm or deny coverage of Plaintiff's
claim within a reasonable time. Specifically, Plaintiff did not receive timely indication of
acceptance or rejection, regarding the full and entire claim, in writing from Defendant
LEXINGTON. Defendant LEXINGTON's conduct constitutes a violation of the Texas
Insurance Code, Unfair Settlement Practices. TEX.INS.CODE §541.060(a)(4).

26. LEXINGTON refused to fully compensate Plaintiff. under the terms of the
Policy, even though LEXINGTON and SNOW failed to conduct a reasonable
investigation. Specifically, Defendants performed an outcome-oriented investigation of

the Plaintiff's claim, which resulted in a biased, unfair, and inadequate evaluation of

Page 7 of 16

Case 7:17-Cv-OO145-O ` Document 1-2 Filed 10/04/17 Page 8 of 18 Page|D 21

Plaintiff's losses on the Property. Defendants' conduct constitutes a violation of the
Texas Insurance Code, Unfair Settlement Practices. TEX.INS.CODE §541.060(a)(7).

27. Defendant I..E.XINGTON failed to meet its obligations under the Texas
Insurance Code regarding timely acknowledging Plaintiff’s claim, beginning an
investigation of Plaintiff's claim, and requesting all information reasonably necessary to
investigate Plaintist claim within the statutorily mandated time of receiving notice of
Plaintiff's claim. LEXINGTON’s conduct constitutes a violation of the Texas Insurance
Code, Prompt Payment of Claims. TE.X.INS.CODE §542.055.

28. Defendant LEXINGTON failed to accept or deny Plaintiff's full and entire
claim within the statutorily mandated time of receiving all necessary information
LEXINGTON's conduct constitutes a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX.INS.CODE §542.056.

29. Defendants failed to communicate with Plaintiff to insure that Plaintiff
understood the coverage denials that Plaintiff received.

CoUNT 0st BREACH or CoNTRAc'r

30. Plaintiff incorporates paragraphs 11-29 herein.

31. At the time of the incident, Plaintiff had in place a policy issued by
LEXINGTON. The premiums were current. All conditions precedent to recovery were
made. Defendant wrongfully failed to comply with the terms of the contract.

Defendant is, therefore, in breach of the contract of insurance issued to Plaintiff.

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Case 7:17-Cv-00145-O Document 1-2 Filed 10/04/17 Page 9 of 18 Page|D 22

32. Defendant’s conduct constitutes a breach of contract resulting in damages
to the Plaintiff.

COUN'I‘ TWO: DTPA

33. Plaintiff incorporates paragraphs 11-29 herein.

34. Plaintiff is a “consumer" as defined by Section 17.45(4) of the 'I`exas
Business and Commerce Code because Plaintiff sought or acquired goods or services by
purchasing those goods or services from Defendant Both LEXINGTON and SNOW
VlOlalECl the TEXAS DECEPTIVE TRADE PRAC`I'ICES_CONSUMER FRO'I`ECTION ACT ("lhe
DTPA"), because LEXINGTON and SNOW engaged in false, misleading and/or
deceptive acts or practices that Plaintiff relied on to her detriment

35. 'I`he acts and omissions of LEXING'I`ON and SNOW also constitute
violations of the D'I`PA, but not limited to: (a) committing false, misleading or deceptive
acts or practices as defined by § 17.46(b), and (b) use of employment of an act or
practice in violation of the Texas Insurance Code Chapter 541.151 et seq. as described
herein.

36. The acts and omissions of Defendants were a producing cause of the
Plaintiff's damages.

37. Defendants' conduct was committed knowingly and/or intentionally
because, at the time of the acts and practices complained of, Defendants had actual

awareness of the falsity, deception or unfairness of the acts or practices giving rise to

Page 9 of 16

Case 7:17-Cv-001`45-O `Document 1-2 Filed 10/04/17 Page 10 of 18 Page|D 23

Plaintiff's claim and they acted with a specific intent that Plaintiff act in detrimental
reliance on the falsity or deception and]or in detrimental ignorance of the unfairness
CouNT THREE: 5541 ET Sso. 'I‘sxAs INsURANcE Coos

38. Plaintiff incorporates paragraphs 11-29 herein.

39. LEXINGTON and SNOW violated the TEXAS INSURANCE CODE § 541 et seq.
because they engaged in unfair and/or deceptive acts or practices in the business of
insurance Specifically, Defendants' acts and omission include violation of:

a. §541.051;
b. §541.051(4);

c. engaging in unfair settlement practices by (§541.06{]): (i) misrepresenting
to Plaintiff a material fact or policy provision relating to coverage at issue, (ii) failing to
attempt in good faith to effectuate a prompt, fair, and equitable settlement of Plaintiff's
claim with respect to which LEXINGTON's liability has become reasonably clear, (iii)
failing to promptly provide Plaintiff a reasonable explanation of the factual and legal
basis in the policy for LEXINGTON's denial of the claim, (iv) failing to affirm or deny
coverage within a reasonable time, and (v) refusing to pay a claim without conducting a
reasonable investigation of the claim.

d. misrepresenting Plaintiff’s insurance policy by (§541.061): (i) making an
untrue statement of material fact, (ii) failing to state a material fact that is necessary to

make other statements made not misleading, considering the circumstances under

page 10 of16

Case 7:17-Cv-001`45-O `Document 1-2 Filed 10/04/17 Page 11 of 18 Page|D 24

which the statements were made, and (iii) making a statement in such a manner as to
mislead a reasonably prudent person to a false conclusion of a material fact; and

e. §17.46(b) of the TExAs DECEPTIVE TRADE PRAcTicE ACT, incorporated by
Tsxas INSURANCE Coos §541.151.

40. LEXINGTON and SNOW's conduct was committed knowingly because
Defendants had actual awareness of the falsity, unfairness or deception of their acts or
practices made the basis for Plaintiff's claim for damages under the TEXAS INSURANCE
CODE.

41. Defendants' conduct described above was a producing cause of Plaintiff's
injuries

CoUNT FoUR: TExAs INsUrtANcE Coos 5542

42. Plaintiff incorporates paragraphs 11-29 herein.

43. LEXINGTON and SNOW violated Section 542 the 'l`exas Insurance Code
because they failed to do the following within the statutorily mandated time of

receiving all necessary information:

a. Failing to timely acknowledge the Plaintist claim;

b. Failing to commence an investigation of Plaintiff's claim;

c. Failing to request all information reasonably necessary to
investigate Plaintiff's claim within the statutorily mandated
deadlines;

d. Failing to give proper notice of the acceptance or rejection of part or
all of Plaintiff's claim;

Page ll of16

Case 7:17-Cv-001'45-O lDocument 1-2 Filed 10/04/17 Page 12 of 18 Page|D 25

e. Failing to accept or deny Plaintiff's full and entire claim within the
statutorily mandated time of receiving all information;

f. Failin g to pay Plaintiff’s claim without delay; and
g. Failing to include the requisite penalty interest on any and all
payments made beyond the statutorily designated time to make
payment in full for Plaintiff's claim.
44. Such failures constitute violations of Texas Insurance Code Section
542.055, 542.056, 542.057, and 542.[}58. As a result of the foregoing violations Plaintiff
requests damages under Texas Insurance Code section 542.060.
C_c_)UNT FivE: GOoD FAITH_A:§Q FAlR DEAr.lNG
45. Plaintiff incorporates paragraphs 11-29 herein.
46. LEXINGTON and SNOW owed Plaintiff a duty of good faith and fair
dealing. LEXINGTON and SNOW and/or its adjusters breached this duty when they
denied Plaintiff's claim because LEXINGTON and SNOW and/or its adjusters knew or
should have known that it was reasonably clear that Plaintiff's claim was covered.
LEXING'I`ON and SNOW’s breach of this duty was a proximate cause of Plaintiff's
damages
CoUNT Slx: FRAIJD
47. Plaintiff incorporates paragraphs 11-29 herein.
48. Common Law Fraud. LEXINGTON made various representations to the

Plaintiff regarding her windstorm / hailstorm claim, including material representations

regarding prior repairs material representations regarding policy coverages, whether

Page 12 of 16

Case 7:17-Cv-001`45-O `Document 1-2 Filed 10/04/17 Page 13 of 18 Page|D 26

or not claims were covered, and/or the value of claims which were material and false.
At the time LEXINGTON made the representations they knew the representations were
false or made the representations recklessly as a positive assertion without knowledge
of the truth. LEXINGTON made these representations with the intent that the Plaintiff
acted on them by not further pursuing claims and/or thinking there was no other
money to recover. Plaintiff relied on the representations and this caused injury.

49. Constructive Fraud. A breach of fiduciary duty is a form of constructive
fraud. The acts and omissions of LEXINGTON constitute constructive fraud.

50. Fraud by Non-disclosure.

(a) LEXINGTON had a duty to Plaintiff to disclose the extent and
value of damages suffered by Plaintiff and that it owed Plaintiff money for the claim.
LEXlNGTON concealed from, or failed to disclose these facts to Plaintiff. The facts
were material and LEXINGTON knew that the Plaintiff was ignorant of the facts and
that Plaintiff did not have an equal opportunity to discover the facts

(b) LEXINGTON was deliberately silent when they owed a duty to
advise Plaintiff of the damages and the extent of the damages and the amount it owed
Plaintiff. By failing to disclose these facts LEXINGTON intended to induce the Plaintiff
to believe no money was owed on the claim. Plaintiff relied on the non-disclosure and
was injured.

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Page 13 of16

Case 7:17-Cv-001`45-O `Document 1-2 Filed 10/04/17 Page 14 of 18 Page|D 27

51. Defendants have waived and are estopped from asserting any coverage
defenses conditions exclusions or exceptions to coverage not contained in any
reservation of rights letter to Plaintiff.

DAMAGES
52. As a direct result of LEXINGTON and SNOW's conduct Plaintiff has
suffered economic damages all of which she is entitled to recover. Plaintiff is entitled to
recover, in addition to the amount of the claim, interest on the amount of the claim at
the rate of 18 percent a year as damages together with reasonable attorney's fees
Plaintiff is also entitled to recover mental anguish damages because Defendants acted in
bad faith and because Defendants’ knowing conduct was the producing cause of
Plaintiff’s mental anguish.
53. Pursuant to the D'I`PA and the Texas Insurance Code, Plaintiff is also
entitled to recover treble damages because Defendants' conduct was committed
knowingly.
54. Plaintiff is entitled to exemplary damages as a result of Defendants'
breach of duties owed as described in paragraphs above. When viewed objectively
from the standpoint of the Defendants at the time of the occurrence in question,
Defendants' conduct involved an extreme degree of risk, considering the probability
and magnitude of the harm to others and of which the Defendants had actual,

subjective awareness of the risk involved, but nevertheless proceeded with conscious

Page 14 ot`16

Case 7:17-Cv-001`45-O `Document 1-2 Filed 10/04/17 Page 15 of 18 Page|D 28

indifference to the rights safety, or welfare of others In the alternative, Defendants had
specific intent to cause substantial harm to Plaintiff.
A”r'roRNsY Fsss

55. Pursuant to Section 38.001 of the 'I`EXAS CIVIL PRACTICES dr REMEDIES CODE
§38.001, Section 17.50(d) of the DTPA, and Sections 541.152 and 542.060 of the TEXAS
INSURANCE Code, Plaintiff seeks recovery of its reasonable and necessary attorney fees
and court costs

JPBLD_§_MAUB
56. Plaintiff respectfully requests a trial by jury.
llB_a_YB

For these reasons Plaintiff asks that it have judgment against Defendants for its
economic damages mental anguish damages treble damages exemplary damages
reasonable and necessary attorney fees pre-judgment and post-judgment interest as
allowed by law, costs of suit, and all other relief to which Plaintiff may show itself

entitled.

Page 15 otto

Case 7:17-Cv-00145-O `Document 1-2 Filed 10/04/17 Page 16 of 18 Page|D 29

Respectfully Submitted,

LOPEZ SCO'I'I`, L.LC.

3707 N. St Mary's Street
Suite 200

San Antonio, Texas 78212
Telephone: 210.472.2100
Telecopier: 210.472.2101

!s/ Orlando R. I.opez

Orlando R. Lopez
State Bar No. 24010196
olupez'.~ lopezscott.cum
Danny Ray Scott

State Bar No. 24010920

dscolim'lopezscott.cnm

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Case 7:17-cv-001'45-O ‘Document 1-2 Filed 10/04/17 Page'17 of 18 Page|D 30

CITATION FOR PERSONAL SERVICE - 78th DISTRICT COURT

'I`HE STATE OF TEXAS

TO: LEXINGTON lNSURANCE COMPANY, a foreign insurance carrier engaging in the business of insurance in the
State of Texas, Defendant, Greeting:

You are commanded to appear before the Honorable ?81h DISTRICT COURT of Wichita County_. Texas, at the
Courthouse in Wichita Falls, Texas by filing a Written answer, at or before 10 o’clocl< A.M. of the Monday next after
the expiration of twenty days after the date of service of this citation, to PLAINTIFF'S ORIGINAL PETIT[ON, filed in
said Court on the 31ST DAY OF AUGUST, 2017, in the cause numbered 186,968-13 on the docket of said court and
styled,

RICHARD LIGHTNER
_VS_
LEXINGTON INSURANCE COMPANY AND MATTHEW C. SNOW

The nature of PLAINTIFF, RlCHARD LIGI-lTNER demand is fully shown by a true and correct copy of
PLAINTIFF'S ORlGlNAL PETITION accompanying this citation, and made a part hereof.

The officer executing this writ shall promptly serve the same according to the requirements of law, and the
mandates hereof, and make the return as the law directs

Issued and given under my hand and the Seal of said Court at Wichita Falls, Texas, this the 3 lst day of August,
201?.

PATTl FLORES Cler

 

This copy of Citation was delivered to you on the day of . 20

 

 

SheriffiConstablefDistrict Clerk
County

By Deputy

 

IMPORTANT NOTICE

YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. IF YOU OR YOUR ATTORNEY DO
NOT FILE A WRITTEN ANSWER WI'[`H THE CLERK WHO ISSUED THIS CITATION BY 10:00 A.M. ON
THE MONDAY NEXT FOLLOWING THE EXPIRATION OF 'I`WENTY DAYS AFTER YOU WERE
SERVED THIS CI'I`A'I`lON AND PETITION, A DEFAULT .IUDGMENT MAY BE TAKEN AGAINST YOU.

Case 7:17-0\/-00145-0 Document 1-2 Filed 10/04/17 Page 18 of 18 Page|D 31

 

File No. 186,963-B
CITATION FOR PERSONAL SERVICE

RICHARD LIGHTNER
-VS-
LEXINGTON INSURANCE COMPANY AND MATTHEW C. SNOW

ln the 78th DISTRICT COURT

 

of Wichita County, 'I`exas

 

 

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LOPEZ SCO T, L.L.C.

3?0:»' N. ST MARY'S sTREET, SUlTE 200

sAN ANToNIo, TsxAs 73212

31st DAY oF AUGUST, 2011

 

 

RETURN
This Citation was received by me on the day of . 20 , at
M.
This Citation was executed by mailing as Certified Mail from Wichita Falls, Texas, me on the day
of , 20 , at M. to the within named Defendant,

 

LEXINGTON lNSURANCE COMPANY with delivery restricted to addressee only, a true copy of this
Citation with a copy of the
attached to it. Attached to this return is the Retum Receipt with the addressee’s signature

 

 

The distance actually traveled by me in serving this process was miles l am an adult and in no
manner of interest in this suit.
FEES: Serving $
Postage $

Patti Flores, Clerk
District Courts and County Court at Law
chhiia County, Texas

By:

 

LYNE'I`TE GUTHR]E. DEPUTY

NOTE: Must be verified if served outside the State of Texas.

Signed and sworn to be the said before me this day of
, 20 , to certify which witness my hand and seal of office.

 

 

 

DEPUTY, District Clerk & County Courts-at-Law
Wichita County, Tean

